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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 ARIANE BRYAN,

        Plaintiff,
                                                        Case No. _____________

 vs.

 COATES I, INC., a Florida Profit Corporation
 and Unkown Defendant #1; and Unknown
 Defendant #2;

       Defendants.
 ________________________________________/

                                NOTICE OF REMOVAL

        Defendant, COATES I, INC. (“Coates I”), pursuant to 28 U.S.C. §§ 1331, 1441

 and 1446, hereby files this Notice of Removal of the above-captioned action presently

 pending in the County Court of the Sixth Judicial Circuit of Pinellas County, Florida,

 Case No. 19-002728-CO, and states as follows:

        1.      On or about April 4, 2019 Plaintiff, Ariane Bryan (“Plaintiff”), filed a

 Complaint against Coates I in the County Court of the Sixth Judicial Circuit in and for

 Pinellas County, Florida, Case Number: 19-002728-CO (the “Complaint”).

        2.      Coates I was served with the Complaint on April 17, 2019.

        3.      The Complaint alleges violations of federal law which allegedly occurred

 within the Middle District of Florida. Specifically, the sole count in the Complaint alleges

 a claim for injunctive relief to remedy alleged disability discrimination pursuant to Title

 III of the Americans With Disabilities Act of 1990, 42 U.S.C. § 12112 et. seq. (the


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 “ADA”) and Section 508 of the Rehabilitation Act, 36 CFR Parts 1193 and 1194, as

 amended (the “Rehab Act”).

        4.      Additionally, the Complaint was filed in Pinellas County, where the

 Defendant resides (see paragraph 2 of the Complaint). Therefore, the Tampa Division of

 the United States District Court for the Middle District of Florida is the appropriate venue

 for the removal of this action.

        5.      The above described action is one in which this Court has original

 jurisdiction under the provisions of 28 U.S.C. § 1331 (Federal Question), and is one

 which may be removed to this Court by Coates I pursuant to the provisions of 28 U.S.C.

 § 1441.

        6.      This Notice is being filed with this Court within thirty (30) days after

 Coates I has been served with the Complaint.

        7.      In accordance with 28 U.S.C. § 1446 (d), written Notice of the Filing of

 this Notice of Removal will be given to the adverse party, and a copy of this notice will

 be filed with the Clerk of the Circuit Court. In accordance with 28 U.S.C. § 1446 (a), a

 copy of all process, pleadings and orders served upon Coates I, along with all other state

 court filings and a civil cover sheet, are attached hereto as follows: (1) state court

 Complaint (Exhibit A); (2) state court docket sheet (Exhibit B); (3) all other state court

 filings (Exhibit C); (4) Civil Cover Sheet (Exhibit D); and (5) Notice of Removal to be

 filed in state court (Exhibit E).




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        8.      Coates I consents to the removal of this action to the United States District

 Court for the Middle District of Florida. No other Defendant has been identified or served

 in this matter as of the date of this removal.



        Dated: April 29, 2019.



                                                  Respectfully submitted,

                                                  /s/ Joshua M. Entin
                                                  Joshua M. Entin, Esq.; Trial Counsel
                                                  Fla. Bar No. 493724
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                                                  Attorney for Defendant, COATES I, INC.




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                              CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on April 29, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on

 the attached Service List in the manner specified, either via transmission of Notices of

 Electronic Filing generated by CM/ECF or in some other authorized manner for those

 counsel or parties who are not authorized to receive electronically Notices of Electronic

 Filing.


                                              s/ Joshua M. Entin, Esq.
                                              Joshua M. Entin, Esquire




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                                  SERVICE LIST

                             BRYAN vs. COATES I, INC.
      United States District Court, Middle District of Florida (Tampa Division)
                              Case No: _______________


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